
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 96-2076


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   DAVID C. WHITE,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                              and Boudin, Circuit Judge.
                                          _____________

                              _________________________

               John  A. Ciraldo,  with whom  Perkins, Thompson,  Hinckley &amp;
               ________________              ______________________________
          Keddy, P.A. was on brief, for appellant.
          ___________
               Margaret D.  McGaughey,  Assistant United  States  Attorney,
               ______________________
          with whom Jay  P. McCloskey, United States Attorney, and Jonathan
                    _________________                              ________
          A. Toof,  Assistant United  States Attorney,  were on  brief, for
          _______
          appellee.

                              _________________________


                                    June 24, 1997
                              _________________________

















                    SELYA,  Circuit  Judge.   Defendant-appellant  David C.
                    SELYA,  Circuit  Judge.
                            ______________

          White wants to  regain his  interest in a  parcel of real  estate

          known as "the Farm."   The government seized White's  interest in

          this tract after  he and  several others pled  guilty to  charges

          that they collogued to  distribute marijuana.  White acknowledges

          that  his  coconspirators  used   the  Farm  to  carry  out   the

          conspiracy's  nefarious  objectives,  but  he  insists  that  the

          government  cannot seize  his  interest in  the property  without

          first showing that he  personally used it to further  the illicit
                                 __________

          activity.

                    This is an argument which  requires red meat and strong

          drink, but the appellant  offers little in the way  of sustenance

          for it.  Consequently, we reject his theory and instead hold that

          the nexus between White's involvement in the marijuana conspiracy

          and his coconspirators' use of the Farm permits forfeiture.

          I.  BACKGROUND
          I.  BACKGROUND

                    White  was  indicted  along  with  several  others  for

          conspiring to distribute  marijuana in violation of  21 U.S.C.   

          841(a)(1),  841(b)(1)(A),  846.    The  same  indictment   sought

          criminal  forfeiture of  the Farm  pursuant to  21 U.S.C.    853.

          White pled guilty to the conspiracy count and waived his right to

          a jury trial on  the forfeiture count.  In conjunction  with this

          waiver,  the  parties  stipulated  to the  facts  underlying  the

          forfeiture count.  We summarize these facts.

                    The Farm is located in Mansfield, Massachusetts.  White

          inherited his  interest  in  it from  his  mother.   He  owns  an


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          undivided  one-fourth  interest,  as   does  each  of  his  three

          siblings.  During  the course  of the conspiracy,  White did  not

          live on the Farm, but he knew that  his sister and coconspirator,

          Rebecca White,  resided  there with  another coconspirator,  Gary

          Dethlefs.  White also was cognizant  of the fact that Rebecca and

          Gary  were using  the  Farm to  facilitate  the business  of  the

          conspiracy.    Although  White did  not  attempt  to prevent  his

          coconspirators  from   storing  drugs  on  the   Farm,  he  never

          personally conducted illicit activities in that venue.

                    After  the  district court  adjudicated  White's guilt,

          White filed  a motion for judgment,  asseverating that forfeiture

          is improper  when there is  no proof that  the defendant/property

          owner personally used the targeted property to carry out criminal

          activity.   The  district court  rejected White's  "personal use"

          argument and denied his  motion.  See United States  v. Dethlefs,
                                            ___ _____________     ________

          934 F.Supp. 475  (D. Me.  1996).  Shortly  thereafter, the  court

          entered an order of forfeiture.  This appeal followed.

                    Because   this  matter   does  not   implicate  factual

          disputes,  but only  requires us to  assay the  appellant's legal

          theory by  resort to the drug-trafficking  forfeiture statute, 21

          U.S.C.    853,  our review  is  plenary.   See  United States  v.
                                                     ___  _____________

          Pitrone,  ___ F.3d ___, ___  (1st Cir. 1997)  [No. 96-2090, slip.
          _______

          op. at 6]; United States  v. Gifford, 17 F.3d 462, 472  (1st Cir.
                     _____________     _______

          1994).

          II.  PRINCIPLES AFFECTING CRIMINAL FORFEITURE
          II.  PRINCIPLES AFFECTING CRIMINAL FORFEITURE

                    The applicable statute, which permits the government to


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          seize drug-related property, provides  in pertinent part that any

          person who is convicted of a federal felony drug violation

                    shall   forfeit   to   the   United   States,
                    irrespective of any provision of State law  
                       (1)  any property constituting, or derived
                    from,  any  proceeds  the   person  obtained,
                    directly or indirectly, as the result of such
                    violation;
                          (2)  any of the person's property used,
                    or  intended to  be  used, in  any manner  or
                    part,  to  commit,   or  to  facilitate   the
                    commission of, such violation . . . . 

          21 U.S.C.     853(a)  (1994).   This  statute  contemplates  both

          "property obtained" and "property  used" forfeitures; that is, it

          allows  the  government  to  confiscate  a  criminal  defendant's

          property where the property  either is the fruit  of drug-related

          criminal  activity  or  has  been used  to  further  drug-related

          criminal activity.

                    The legislative history of section 853  is significant.

          Congress enacted the  statute as part of  the Comprehensive Crime

          Control  Act of 1984.  See Act of  Oct. 12, 1984, Pub. L. No. 98-
                                 ___

          473, 1984 U.S.C.C.A.N.  (98 Stat. 1837).  Congress expressed high

          hopes  for this legislation, intending  it as a  vehicle "to make

          major comprehensive  improvements to the Federal  criminal laws."

          S. Rep. No. 98-225,  at 1 (1984), reprinted in  1984 U.S.C.C.A.N.
                                            _________ __

          3182,  3184.    To  bolster  federal  crime  prevention  efforts,

          Congress "enhance[d]  the use of forfeiture,  and, in particular,

          the sanction of criminal forfeiture, as a law enforcement tool in

          combating  two of  the  most serious  crime  problems facing  the

          country:  racketeering and drug trafficking."  Id. at 3374.
                                                         ___

                    To  implement these  sentiments, Congress  expanded the

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          preexisting Racketeer Influenced and Corrupt Organizations (RICO)

          forfeiture  provision,   embodied  in  18  U.S.C.      1963,  and

          simultaneously created the  drug-related forfeiture provision now

          codified in section 853.  Congress took pains to note that "[t]he

          provisions of this new criminal forfeiture statute for major drug

          offenses closely parallel those  of the [amended] RICO forfeiture

          provisions  .  .  .  ."    Id.  at  3381.    Since  then,  courts
                                     ___

          consistently  have  construed  the RICO  forfeiture  statute,  18

          U.S.C.      1963,   and   the   statute  governing   drug-related

          forfeitures, 21 U.S.C.   853, in  pari passu.  See United  States
                                            ____ _____   ___ ______________

          v. McHan, 101 F.3d 1027, 1042 (4th Cir. 1996), cert. denied, 1997
             _____                                       _____ ______

          WL 275967 (June  16, 1997);  United States v.  Libretti, 38  F.3d
                                       _____________     ________

          523, 528, n.6  (10th Cir.  1994), aff'd, 116  S. Ct. 356  (1995);
                                            _____

          United  States v.  Bissell, 866  F.2d 1343,  1348 n.3  (11th Cir.
          ______________     _______

          1989);  United States v. Benevento,  663 F. Supp.  1115, 1118 n.2
                  _____________    _________

          (S.D.N.Y. 1987), aff'd per  curiam, 836 F.2d 129 (2d  Cir. 1988).
                           _____ ___  ______

          We join these courts in  holding that case law under 18  U.S.C.  

          1963 is persuasive in construing 21 U.S.C.   853, and vice versa.

                    The Supreme Court has  held that criminal forfeiture is

          less  a substantive offense and more an element of the offender's

          sentence.   See Libretti, 116  S. Ct. at  363.  For  this reason,
                      ___ ________

          criminal  forfeitures   do  not  engender  the   same  procedural

          protections  as do felony  charges simpliciter.  See id.  at 364,
                                                           ___ ___

          367.   This  does  not mean,  however,  that the  government  can

          forfeit  assets for the  asking.  One restriction  is that "  853

          limits forfeiture  by establishing a  factual nexus  requirement:


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          Only  drug-tainted assets may  be forfeited."   Id. at 364.   Put
                                                          ___

          more  precisely, criminal  forfeiture  is  not permissible  under

          section  853  unless  the  government  establishes  a  connection

          between  the  forfeited  property  and  the defendant's  criminal

          conduct.

                    The  exact  dimensions of  this  nexus requirement  are

          largely uncharted.  In  United States v. Desmarais, 938  F.2d 347
                                  _____________    _________

          (1st Cir. 1991), government  officials effected a "property used"

          forfeiture and  seized the defendant's house  pursuant to section

          853(a)(2).  On  appeal, the defendant  claimed that the  district

          court had  erred in instructing  the jurors anent  the connection

          between the seized property and the defendant's criminal conduct.

          Without  venturing to  delineate  the contours  of the  necessary

          connection, we held that the jury instructions  were adequate and

          that  the  facts  sufficiently established  the  requisite  nexus

          between  the defendant's  (forfeited) dwelling  and his  criminal

          misconduct.   Id.  at 353  (mentioning  that narcotics  had  been
                        ___

          mailed  to  the  house  and that  officers  had  discovered  drug

          paraphernalia  therein).   We  acknowledged, however,  that "[w]e

          have yet  to define  the degree  of interrelatedness  required to

          support a  criminal forfeiture under  21 U.S.C.    853(a)(2), nor

          has any other court done so to our knowledge."  Id.
                                                          ___

          III.  ANALYSIS
          III.  ANALYSIS

                    White posits  that, in this case,  forfeiture is proper

          only  if there is  a watertight  nexus between  the Farm  and his

          criminal conduct  and that,  therefore, the government  must show


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          that he personally used  the Farm to  commit the conspiracy.   He

          relies upon  two distinctions in  forfeiture law to  support this

          construct.   First, he points out  that although civil forfeiture

          is a proceeding  against the property,  criminal forfeiture is  a

          proceeding against  the person.   This distinction,  according to

          the appellant, highlights the criminal law's traditional focus on

          individual culpability.  Second, he hypothesizes that a "property

          used" forfeiture  is distinguishable  from a  "property obtained"

          forfeiture in that the former requires a showing of criminal use.

          The  appellant then  adds these  two distinctions  together, like

          numbers in an equation, to produce the desired sum:  the supposed

          requirement that the government must show that he personally used

          the Farm to conduct illegal activity.

                    We  agree with  the  appellant's two  premises, and  we

          recognize  the distinctions  that  he delineates.   We  disagree,

          however,  with  his  conclusion  because we  believe  that  these

          distinctions,  severally  and  in  combination, fail  to  make  a

          material difference in the outcome  of this case.  In  short, the

          appellant's equation is out of balance.

                    Courts  have declined to bootstrap into the appellant's

          first distinction   criminal versus civil   the  proposition that

          a criminal forfeiture  proceeding must be viewed through a highly

          individualized  lens.   In  the  context  of "property  obtained"

          forfeitures, for example, several  courts of appeals have refused

          to  limit criminal forfeiture  to proceeds  defendants personally

          obtained and  have held  defendants jointly and  severally liable


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          for the proceeds  obtained by their  coconspirators.  See  McHan,
                                                                ___  _____

          101 F.3d at  1043 (holding that section  853(a)(1) forfeiture "is

          not limited to property  that the defendant acquired individually

          but includes  all property that the  defendant derived indirectly

          from  those who  acted  in concert  with  him in  furthering  the

          criminal enterprise");  United States v. Masters,  924 F.2d 1362,
                                  _____________    _______

          1370  (7th  Cir.  1991)   (holding  RICO  defendant  jointly  and

          severally  liable for  proceeds obtained  by his  coconspirators,

          noting  that each member of  the conspiracy "is  fully liable for

          the  receipts of  the other members  of the  enterprise"); United
                                                                     ______

          States v. Caporale, 806 F.2d 1487, 1506 (11th Cir. 1986) (holding
          ______    ________

          that  the  "imposition  of  joint  and  several  liability  in  a

          forfeiture  order   upon  RICO   co-conspirators   is  not   only

          permissible but necessary . . . to effectuate  the purpose of the

          forfeiture provision");  see also United States v. Wilson, 742 F.
                                   ___ ____ _____________    ______

          Supp. 905, 909 (E.D. Pa. 1989) (holding that "there is  no bar to

          the   imposition  of  joint  and  several  liability  on  a  RICO

          forfeiture verdict, and  . .  . imposition of  joint and  several

          liability [is] consistent with the statutory scheme"), aff'd, 909
                                                                 _____

          F.2d 1478 (3d Cir. 1990) (table); Benevento, 663 F. Supp. at 1118
                                            _________

          (applying the  doctrine  of  joint  and several  liability  to  a

          section 853(a)(1) forfeiture).

                    This court  adopted the same approach  in United States
                                                              _____________

          v. Hurley,  63 F.3d 1 (1st  Cir. 1995), cert. denied,  116 S. Ct.
             ______                               _____ ______

          1322 (1996), a RICO forfeiture case in which  we refused to limit

          forfeiture to  ill-gotten gains personally obtained.   In holding


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          the defendant jointly  and severally liable  for all the  illicit

          profits  procured  by  means  of the  conspiracy  and  reasonably

          foreseeable to the defendant, we reasoned that:

                    Under  established case  law,  members  of  a
                    conspiracy are substantively  liable for  the
                    foreseeable  criminal  conduct  of the  other
                    members  of the  conspiracy.    Pinkerton  v.
                                                    _________
                    United  States, 328  U.S. 640 (1946).   Using
                    ______________
                    the same concept,  the Sentencing  Guidelines
                    attribute  to a  defendant at  sentencing the
                    foreseeable   conduct   of   co-conspirators.
                    U.S.S.G.   1B1.3(a)(1)(B).  It would be odd .
                    .  .   to  depart  from   this  principle  of
                    attributed conduct when it comes to apply the
                    forfeiture rules, which have aspects  both of
                    substantive liability and of penalty.

          Id.  at  22.    Thus,  contrary  to  the  appellant's  assertion,
          ___

          traditional  notions of criminal law do  not preclude courts from

          holding defendants  in forfeiture  proceedings  liable for  their

          coconspirators' behavior.  See McHan, 101 F.3d at 1043; Caporale,
                                     ___ _____                    ________

          806  F.2d   at  1508.     Consequently,  the   appellant's  first

          distinction drops from his equation.

                    White's  second distinction  likewise fails  to support

          his  "personal use"  argument.   There  is  simply no  analytical

          grounding  for the  proposition  that "property  used" forfeiture

          requires a  showing that  defendant personally used  the property

          for illicit  reasons when,  as the appellant  concedes, "property

          obtained"  forfeitures do  not require  a similar  showing.   The

          Pinkerton principle, see Pinkerton v. United States, 328 U.S. 640
          _________            ___ _________    _____________

          (1946),  is  equally  applicable  to  both  subsets  of  criminal

          forfeiture.  Moreover, the plain language  of the "property used"

          forfeiture, 21 U.S.C.   853(a)(2), simply does not direct a court


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          to find that a  defendant personally used the property  to commit

          the underlying crime.   We  would usurp Congress'  power were  we

          gratuitously to read such  a restriction into the statute.   This

          is especially true because Congress explicitly warned the federal

          courts not to  construe section 853 grudgingly.  See  21 U.S.C.  
                                                           ___

          853(o)  ("The  provisions  of  this section  shall  be  liberally

          construed to effectuate its remedial purpose.").

                    In fine,  the sum  of the appellant's  arguments is  no

          more than the sum of its parts    and that adds up to very little

          in the context of this case.   White cites no apposite  authority

          for  his  views,1  and  neither of  his  proffered  distinctions,

          standing  alone  or  added  together,  support  his  vision of  a

          "personal use"  requirement for "property used"  forfeitures.  By

          its terms, section 853(a)(2) requires only that  the defendant be

          convicted of  a drug-trafficking offense and that his property be

          used  to  facilitate  the  commission  of that  offense.    These

          requirements are fully satisfied in White's case.
                              
          ____________________

               1White  cites United States  v. Ragonese,  607 F.  Supp. 649
                             _____________     ________
          (S.D. Fla. 1985),  aff'd, 784 F.2d 403 (11th Cir.  1986), for the
                             _____
          proposition that a coconspirator's  use of a defendant's property
          is insufficient  to justify its  forfeiture.  The  Ragonese court
                                                             ________
          made  no such holding.  There, the government sought to establish
          a nexus  between the seized  property (an apartment  complex) and
          the substantive  RICO violation  by proving that  a coconspirator
          dealt drugs from units within the apartment  complex.  See id. at
                                                                 ___ ___
          652.  The defendant, however, was outraged by this activity as it
          tended to lower property values.  Id.  The court refused to order
                                            ___
          forfeiture,  reasoning  that  the  requisite  nexus  between  the
          targeted property  and the  underlying criminal conduct  does not
          exist  where  the  defendant/property owner  disapproves  of, and
          attempts to curtail, his  coconspirator's use of the  property to
          conduct criminal activity.   See id.  at 651-52.   This case,  in
                                       ___ ___
          which White acquiesced complacently in his coconspirators' use of
          the Farm, stands in vivid contrast to Ragonese.
                                                ________

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          IV.  CONCLUSION
          IV.  CONCLUSION

                    We need go  no further.  Forfeiture  under section 853,

          whether  of  the  "property  obtained"  or  the  "property  used"

          variety,  requires a court to  find a nexus  between the targeted

          property and the defendant's  underlying criminal activity.  This

          nexus  exists here inasmuch as the appellant owned an interest in

          the property that his  coconspirators, to his knowledge  and with

          his  tacit acquiescence, used in facilitating the business of the

          marijuana conspiracy.  See  generally Pinkerton v. United States,
                                 ___  _________ _________    _____________

          328  U.S.  640 (1946).    The  law simply  does  not require  the

          government  to show,  as a  precondition to  criminal forfeiture,

          that White personally used the Farm to conduct illicit activity.



                    Affirmed.
                    Affirmed.
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